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         CASE BEING CONSIDERED FOR TREATMENT
       PURSUANT TO RULE 340) OF THE COURT’S RULES.

                          No. 22-7103

          IN THE UNITED STATES COURT OF APPEALS
           FOR THE DISTRICT OF COLUMBIA CIRCUIT
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                          PABLO ABREU,
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                                            Plaintiff-Appellant,    3°
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                      HOWARD UNIVERSITY,                            ^
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                                            Defendant-Appellee.


            On Appeal from the United States District Court
                    for the District of Columbia
                  (Case No.: l:21-cv-00397-APM)


                     BRIEF FOR APPELLANT



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            STATEMENT OF SUBJECT MATTER JTJRISDICTION

        The District Court had subject matter jurisdiction over this action pursuant to

28 U.S.C.§ 1331. Plaintiff-Appellant Pablo Abreu (hereinafter “Appellant or Mr.

Abreau”) seeks review of the Final Opinion, and Order dated June 17, 2022

granting Defendant/Appellee Howard University’s (Appellee) Motion to Dismiss.

(R5-R13). Appellant is also seeking review of the Memorandum Opinion and

Order dated November 2, 2021. (R25-R35) On July 18, 2022, Appellant timely

filed a Notice of Appeal conferring jurisdiction on this Court pursuant to 28 USC §

1291. (July 17, 2022 was a Sunday) (R56-R57).

                       ISSUE PRESENTED FOR REVIEW

1.      Did the District Court err in holding that the one-year statute of

limitation was applicable instead of the three-year personal injury statute

of limitation?

        - The answer should be in the affirmative.

2.      Since the Rehabilitation Act and ADA do not contain a statute of

         limitations, does the federal default four-year statute under 28

         U.S.C. § 1658 apply?

        - The answer should be in the affirmative.
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3.      Did the District Court err in holding that Appellant did not plead a plausible

cause of action for breach of contract?

        - The answer should be in the affirmative.

4.      Even applying the local one-year statute of limitation in the District of

Columbia, was the case timely brought due to the Covid pandemic tolling the

statute of limitations?

         - The answer should be in the affirmative.

                              STATEMENT OF FACTS

        A. Procedural History
        Appellant commenced this action on February 2, 2021.1 Thereafter, on April

27, 2021 a motion to dismiss was made by Appellee. The motion to dismiss was

granted on November 2, 2021 with leave to file an amended complaint. On

November 16, 2021, Appellant filed an amended complaint. Thereafter on

November 30, 2021, Appellees moved to dismiss or in the alternative for summary

judgment. The Lower Court granted Appellee’s Motion to Dismiss and dismissed

Appellant’s amended complaint on June 17, 2022. A Notice of Appeal was filed on

July 18, 2022 pursuant to 28 USC § 1291. (July 17, 2022 was a Sunday) (R56-

R57).


1 Although 1 am pro se, I will be referring to myself in the third-person in this brief.
In addition, I wish to advise the Court that although the final work product is mine,
I did have some legal assistance in helping me draft this brief.
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      B. The Complaint

      This matter arises from Appellant’s unlawful and unjust dismissal from

Defendant Howard University’s College of Medicine in August of 2019. Appellant

brings this action against the University alleging discrimination on the basis of

disability in violation of the Rehabilitation Act of 1973, as amended, 29 U.S.C. §

701 et seq., and the Americans with Disabilities Act, 42 U.S.C. § 12101 et seq.,

and breach of contract under District of Columbia law. (ECF No. 1). In particular.

Appellant avers that, as a medical student, he contracted with the University to

pursue his studies in good faith in exchange for a degree, but Defendant violated

this implied contract, as set forth with specificity in the College of Medicine’s

Policies and Procedures manual (the “Policies”). The policies that led to

Appellant’s dismissal were (1) the University requirement that students

successfully pass the United States Medical Licensing Examination (“UMSLE”)

Step 1 in their first three attempts, and (2) the University requirement that a student

receive a passing score on the USMLE before the second Wednesday in July of the

year the student completed their second year. Despite repeated requests for a

reasonable accommodation concerning these policies, the University provided

inadequate accommodation resulting in Appellant failing the exam three times.

      More specifically. Appellant, Pablo Abreu, was a student at the Howard

University College of Medicine. He enrolled as a student at the College of
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Medicine in 2015. Mr. Abreu was dismissed from the College of Medicine on

August 27, 2019. In a letter dated, August 27, 2019, the College of Medicine’s

Committee on Student Promotions and Graduation informed Mr. Abreu that he

would be dismissed from the college because he made three unsuccessful attempts

to pass the United States Medical Licensing Examination (UMSLE) Step 1.

      The letter referenced previous commimications, where Mr. Abreu was

allegedly advised of deadlines to prevent dismissal, including passing the UMSLE

Step 1 by June 1, 2019, which Mr. Abreu never received.          Mr. Abreu first

attempted the USMLE Step 1 after completion of his Spring 2017 studies. Prior to

the exam, which took place in June, Mr. Abreu used a 6-week window between the

end of his classes and the exam to prepare. He contacted the College of Medicine’s

Dean of Academic Affairs to inform her that he had been struggling to pass

practice exams, get advice about how best to prepare for the exam, and to receive

additional time to prepare.

      Mr. Abreu was allowed to take the exam in September. However, he was

informed that the College of Medicine only provides assistance with exam

preparation after he has already failed an attempt. Mr. Abreu took the exam on

September 20, 2017, and failed. After failing the exam, he was given the option to

take a leave of absence from the College of Medicine and attend an 8-week

intensive preparatory program approved by the College of Medicine in Champaign
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Illinois, the Pass Program.

      Mr. Abreu remained at the program from January 29, 2018, to August 24,

2018. He covered the costs of his stay at the Pass Program including rent, food,

practice exams, and USMLE fees. While attending the Pass Program, Mr. Abreu

was advised to seek help from a medical professional. In May 2018, Mr. Abreu

sought treatment from a psychologist at the University of Illinois, recommended to

him by the Pass Program. After a few sessions, the psychologist gave Mr. Abreu a

diagnosis of “Specific Phobia: Situational Type,” ranking his severe testing anxiety

to be in the 98th percentile and concluded that he also screened positively for

Attention Deficit Hyperactivity Disorder (ADHD).

      With knowledge of his diagnosis, that same month, Mr. Abreu attempted to

obtain an extension for his exam and sough an emergency loan to cover practice

exams and living expenses as he prepared for the exam. The College of Medicine

denied both requests.

      On June 11, 2018, the school was notified by letter about Mr. Abreu’s

medical conditions, which was registered under the American with Disabilities

Act. The clinical psychologist provided a letter noting that Mr. Abreu suffered

from severe test anxiety. It noted Mr. Abreu’s diagnosis of “Specific Phobia:

Situational Type,” and concluded that he also screened positively for ADHD. The

psychologist’s letter also stated that despite consistent efforts to challenge his
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anxiety, the difficulties he faced with test-taking anxiety could significantly

impede Mr. Abreu’s ability to make progress toward the licensure.

      Mr. Abreu asked for the College of Medicine to set aside its policy of

limiting to USMLE Step 1 attempts to 3. He was allowed to take the exam at a

later date but failed. After his second unsuccessful attempt at the exam, he was

presented for dismissal, but he appealed by letter on September 19, 2018. The

College of Medicine later granted a medical leave of absence, with no written

expression of terms or expectations being delivered to Mr. Abreu of how he should

proceed during the leave. The school offered no other accommodation.

      Mr. Abreu received no letter from the College of Medicine regarding the

conditions of his leave of absence. During his leave he continued with self-directed

study. His participation in the Pass Program and therapy were interrupted due to a

car accident in December 2018, which prevented him from working, and lack of

health insurance. He resumed therapy with a psychologist from the Westchester

Medical Center, who wrote the school suggesting they set aside their policy on the

number of attempts for the USMLE Step 1.

      On June 10, 2018, the College of Medicine’s dean contacted Mr. Abreu to

alert him that he was in danger of dismissal for being out of compliance with a

June 1, 2018, deadline for submitting a successful third USMLE Step l raccording

to a leave of absence letter Mr. Abreu never received. Left with no
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accommodations from the College of Medicine, Mr. Abreu attempted the exam for

a third time on June 22, 2019 and failed. Despite Mr. Abreu’s efforts to comply

with the proper procedure to be successful on the exam, he was dismissed. He

completed the PASS program without financial aid, and he maintained contact

with the College. However, the College of Medicine’s failure to send him notice

resulted in him being unprepared for his final attempt at the USMLE Step 1.

      Appellant alleged breach of contract because the student handbook, stated

that the second Wednesday in July of the year the student completed their second

year was the cutoff to pass the UMSLE Step 1. In a letter dated August 27, 2019,

Mr. Abreu was dismissed from the College of Medicine for not completing the

exam by June 1, 2019. The College of Medicine breached its contractual obligation

when it dismissed Appellant before the manual’s stated cutoff date for completion

of the UMSLE Step 1.

      In addition, the Appellant alleged a failure to accommodate under Title III of

the Americans with Disability Act 42, U.S.C. § 12181 and Section 540 of the

Rehabilitation Act Of 1973, 29 U.S.C. § 794. Appellant notified the College of

Medicine of his diagnosis of “Specific Phobia: Situational Type” and ADHD on

June 11, 2018. 33. The diagnosing psychologist noted that despite consistent

efforts to challenge his anxiety, the difficulties he faced with test-taking anxiety

could significantly impede Appellant’s ability to make progress toward the
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licensure.    The College of Medicine made no individualized assessment into

Appellant’s impairment and made no accommodations based on the diagnosing

psychologist’s letter.

      C. The District Court Decision

      The Appellee moved to dismiss the complaint based on the statute of

limitation and for failure to state claim for relief.    The Court held that the

DCHRA’s one-year period applies and therefore Abreu’s federal claims were

conclusively time-barred citing Jaiyeola v. District of Columbia, 40 A.3d 356, 368

(D.C. 2012). There, the court held that the DCHRA was the most analogous

District of Columbia law to the Rehabilitation Act and therefore applied the

DCHRA’s one-year limitations period, instead of the three-year statute of

limitation for personal injury claims. Since the College dismissed Mr. Abreu on

August 27, 2019, but did not file suit until more than a year later on February 12,

2021, the Court dismissed Appellant’s ADA and Rehabilitation Act claims as time

barred. The Court dismissed the breach of contract claim finding that the College

did not prematurely dismiss Mr. Abreu. However, the Appellant was provided an

opportunity to amend his complaint.

       D. The Amended Complaint

____ The amended complaint alleges the following: Mr. Abreu was dismissed

 from the College of Medicine on August 27, 2019. In a letter dated, August 27,
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2019, the College of Medicine’s Committee on Student Promotions and

Graduation informed Mr. Abreu that he would be dismissed from the college

because he made three unsuccessful attempts to pass the United States Medical

Licensing Examination (UMSLE) Step 1. The letter referenced previous

communications, where Mr. Abreu was allegedly advised by Dean Ford of

deadlines to prevent dismissal, including passing the UMSLE Step 1 by June 1,

2019, which Mr. Abreu never received by standard U.S. Mail, email or any other

means. Mr. Abreu replied to Dean Ford that he never received such notice, but his

concerns about proper notice were not addressed by Dean Ford. Furthermore, the

requirement that Mr. Abreu achieve a passing score on the June 1 exam was

arbitrary. There is no section within the University’s policies and procedures which

mandates that a specific exam be passed or else risk dismissal from the program.

      Specifically, the University violated its own policies in dismissing Mr.

Abreu in August of 2019 for not timely passing the USMLE Step 1 exam, as the

University’s manual stated that the second Wednesday in July of the year the

student completed their second year was the cutoff to pass the UMSLE Step 1. Mr.

Abreu first attempted the USMLE Step 1 after completion of his Spring 2017

studies. Prior to the exam, which took place in June, Mr. Abreu used a 6-week

- window between the end of his classes and the exam to prepare. He contacted the

College of Medicine’s Dean of Academic Affairs to inform her that he had been
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struggling to pass practice exams, and to get advice about how best to prepare for

the exam, and to receive additional time to prepare. Mr. Abreu was allowed to

attempt the exam in September. However, Mr. Abreu was informed that the

College of Medicine only provides assistance with exam preparation after he has

already failed an attempt.

      Mr. Abreu took the exam on September 20, 2017, and failed. After failing

the exam, he was given the option to take a leave of absence from the College of

Medicine and attend an 8-week intensive preparatory program approved by the

College of Medicine in Champaign Illinois, the Pass Program. Mr. Abreu took a

leave of absence from the program and attended a test preparatory program in

order to comply with the University requirements regarding passing exam scores.

Mr. Abreu remained at the program from January 29, 2018, to August 24, 2018. He

covered the costs of his stay at the Pass Program including rent, food, practice

exams, and USMLE fees.

      While attending the Pass Program, Mr. Abreu was advised to seek help from

a medical professional. In May 2018, Mr. Abreu sought treatment from a

psychologist at the University of Illinois, recommended to him by the Pass

Program. After a few sessions, the psychologist gave Mr. Abreu a diagnosis of

‘-‘Specific Phobia; Situational Type,” ranking his severe testing anxiety to be in the

98th percentile and concluded that he also screened positively for Attention Deficit

                                          10
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Hyperactivity Disorder (ADHD). Mr. Abreu attempted to obtain an extension for

his exam and sought an emergency loan to cover practice exams and living

expenses as he prepared for the exam. The College of Medicine denied both

requests.

      On June 11, 2018, the school was notified by letter about Mr. Abreu’s

medical conditions, which were registered under the American with Disabilities

Act. The clinical psychologist provided a letter noting that Mr. Abreu suffered

fi-om severe test anxiety. It noted Mr. Abreu’s diagnosis of “Specific Phobia:

Situational Type,” and concluded that he also screened positively for ADHD. The

psychologist’s letter also stated that despite consistent efforts to challenge his

anxiety, the difficulties he faced with test-taking anxiety could significantly

impede Mr. Abreu’s ability to make progress toward the licensure.        Mr. Abreu

asked for the College of Medicine to set aside its policy of limiting USMLE Step 1

attempts to 3. He was allowed to take the exam at a later date but failed. After his

second unsuccessful attempt at the exam, he was presented for dismissal, but he

appealed by letter on September 19, 2018. The College of Medicine later granted a

medical leave of absence, with no written expression of terms or expectations

being delivered to Mr. Abreu of how he should proceed during the leave. The

-school offered no other accommodation. Further, Dean Ford’s June 10th letter to

Mr. Abreu regarding his potential dismissal had a significant impact on Mr.

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Abreu’s mental health. Notably, this arbitrary letter and failure to follow up on

questions Mr. Abreu might have had, caused severe spikes to Mr. Abreu and

affected his preparation for his third attempt at taking the taking the exam.

      Specifically, university administration ignored recommendations from

mental health professionals. Psychologists Dr. Angelo Cedeno, Dr. Paul Joffe and

Psychiatrists Dr. Mohsen Jalai-Roudsari and Dr. Sina Nikayin regarding Mr.

Abreu’s condition and the recommendation for HUCM to default to the National

Board of Medical Examination limit of 6 attempts at taking the exam. At a very

minimum the school should have provided reasonable accommodations to Mr.

Abreu in order for him to adequately prepare for his examination. Instead, the

school did not provide any reasonable accommodation, despite being put on notice

of his condition and a need to have accommodations with regard to the exam

schedule and/or number of times to complete the exam.

      These actions by the University were not done in good faith and were done

in breach of the implied contract with Mr. Abreu to act in good faith when

determining whether reasonable accommodations were appropriate. On June 10,

2018, the College of Medicine’s dean contacted Mr. Abreu to alert him that he was

in danger of dismissal for being out of compliance with a June 1, 2018, deadline

for submitting a successful third USMLE Step 1, according to a leave of absence

letter Mr. Abreu never received. As he was left with no accommodations from the

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College of Medicine, Mr. Abreu attempted the exam for a third time on June 22,

2019, and failed.

      Despite Mr. Abreu’s efforts to comply with the proper procedure to be

successful on the exam, he was dismissed. He completed the PASS program

without financial aid, and he maintained contact with the college. However, the

College of Medicine’s failure to send him notice resulted in him being unprepared

for his final attempt at the USMLE Step 1.

      The Appellee renewed its motion to dismiss and alternatively moved for

summary judgment.

      E. The District Court Decision Regarding the Amended Complaint

      The court dismissed the ADA and Rehabilitation Act claims as time-barred.

The pleading included additional factual allegations and a new theory that the

University duty of good faith and fair dealing by failing to grant his

accommodation requests. The Court held that the amendments to Abreu’s original

complaint largely reemphasize facts previously alleged and do not substantively

address the primary deficiency of his claim: that he was dismissed pursuant to the

explicit provisions of the Policies and Procedures Manual (“Policy Manual”), that

constituted the terms of his alleged implied contract with the University. Abreu’s

new allegations include that he initially reached out to the Dean of Academic

Affairs for assistance prior to his first attempt at the United States Medical

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Licensing Examination (“USMLE”) Step 1; that the Dean’s June 10, 2018, letter

regarding Abreu’s potential dismissal significantly impacted his mental health; and

that he attempted to communicate with the College after his dismissal prior to

initiating this litigation. The Court held that none of these allegations impact

whether Mr. Abreu’s dismissal violated the University’s contractual obligations.

The Court below held that after Abreu’s failure to pass USMLE Step 1 three times,

the terms of the parties’ agreement permitted the University to dismiss Abreu

pursuant to its policy. The court treated this claim as a contract claim under the

common law that was already rejected as contrary to both the alleged facts and the

language of the Policy Manual. The Court further stated that Abreu tried to recast

his ADA and Rehabilitation Act claims as contract claims by arguing that the

University’s failure to provide “reasonable” accommodations violated its

contractual duty to act in good faith. The Court held that in the absence of explicit

contractual language, there is no independent obligation on the part of the

University to comply with anti-discrimination law and thus dismissed the

complaint.

                          SUMMARY OF ARGUMENT

      The Lower Court erred in dismissing Appellant’s case. Put simply, had the

Lower Court examined all the facts in the light most favorable to the Appellant, it

would have concluded that Appellant pleaded enough facts to demonstrate he had a

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plausible claim for breach of contract. The Amended Complaint pleaded enough

facts that, taken in the aggregate, demonstrated that the Appellee breached the

implied contract by not reasonably accommodating him. The District Court erred

in holding that the one-year statute of limitation was applicable instead of the

three-year personal injury statute of limitation. Also, since the Rehabilitation Act

and ADA do not contain a statute of limitations, the federal default four-year

statute under 28 U.S.C. § 1658 should have applied. Further even applying the

local one-year statute of limitation in the District of Columbia, the case was timely

brought due to the Covid pandemic tolling the statute of limitations.

      Given that all pleaded acts had to be taken as true for the purposes of the

motion to dismiss, the Appellee’s Motion to Dismiss should have been denied.

                                   ARGUMENT

                                     POINT I

                            STANDARD OF REVIEW

      This Court reviews a District Court’s grant of Motion to Dismiss de novo.

Tenenbaum v. Williams, 193 F.3d 581, 593 (2d Cir. 1999). The evidence is

construed in the light most favorable to the non-moving party. Anderson v. Liberty

Lobby, Inc., All US 242, 255 (1986).

       When deciding a motion to dismiss for failure to state a claim under Federal

Rule 12 (b)(6), the court must accept as true all well-pleaded facts alleged in the
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complaint and draw all reasonable inferences in Appellant's favor. See, Kassner v.

2nd Ave. Delicatessen Inc., 496 F.3d 229, 237 (2d Cir. 2007). In order to survive a

motion to dismiss pursuant to Federal Rule 12(b)(6), an Appellant must plead

enough facts to state a claim to relief that is plausible on its face. See, Bell Atl

Corp. V. Twombly, 550 U.S. 544, 570 (2007). A facially plausible claim is one

where the Appellant pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.

Ashcroft V. Iqbal, 129 S. Ct. 1937, 1949 (2009). Where the court finds well-

pleaded factual allegations, it should assume their veracity and determine whether

they plausibly give rise to an entitlement to relief. Iqbal, 129 S. Ct. at 1950.

      Thus, the applicable standard of review is de novo, and the evidence should

be construed in the light most favorable to the Appellant.

                                      POINT II

     THE COURT SHOULD HAVE BORROWED THE PERSONAL
  INJURY THREE YEAR STATUTE OF LIMITATIONS OR THE FOUR-
         YEAR FEDERAL DEFAULT STATUTE OF LIMITATIONS

      A. Introduction

       The Rehabilitation Act and ADA do not contain a statute of limitations, and

thus either the federal default four-year statute under 28 U.S.C. § 1658 or the

limitations-period must be borrowed from the state cause of action most

appropriate or most analogous to a plaintiffs claim. See, e.g., Gaona v. Town &

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Country Credit, 324 F.3d 1050, 1054-55 (8th Cir. 2003) (discussing the

framework for borrowing state statute of limitations to Rehabilitation Act and

ADA claims under Wilson v. Garcia, 471 U.S. 261, 105 S.Ct. 1938, 85 L.Ed.2d

254 (1985), and Goodman v, Lukens Steel Co., 482 U.S. 656, 107 S.Ct. 2617, 96

L.Ed.2d 572 (1987); Everett v. Cobb County Sch. Dist, 138 F.3d 1407, 1409 (11th

Cir. 1998) (same); Soignier v. American Bd. of Plastic Surgery, 92 F.3d 547, 550—

51 (7th Cir. 1996) (same).

      B. The Three-Year Statue Should Apply

      Where a plaintiff alleges a violation in a non-employment case, a state's

personal injury statute of limitations has generally been applied. Gaona v. Town &

Country Credit, 324 F.3d 1050, 1055 (8th Cir. 2003) Since the Supreme Court’s

ruling in Goodman, most Courts of Appeals, with the exception of only one Circuit

(the Fourth Circuit), have applied the state statute of limitations for personal injury

actions to claims under the Rehabilitation Act and the ADA. (footnote and citations

omitted); accord, Purcell v. N.Y. Inst, of Tech. Coll, of Osteopathic Med., 931 F.3d

59 (2d Cir. 2019); Soignier v. Am. Bd. of Plastic Surgery, 92 F.3d 547, 551 (7th

Cir. 1996); Everett v. Cobb County School District, 138 F.3d 1407 (1998).

      In the District of Columbia, this limitations period is three years, and thus a

three-year limitations period should be applied in Rehabilitation Act and ADA



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cases. Stewart, 2006 WL 626921, at *8-9; Doe v. Southeastern Univ., 732 F. Supp.

7, 8-9 (D.D.C. 1990).

      The Court below relied on the decision in Jaiyeola v. District of Columbia,

40 A.3d 356 (D.C. 2012). In Jaiyeola, the DCCA applied the one-year statute of

limitations of the District of Columbia Human Rights Act (“DCHRA”) to a

Rehabilitation Act claim rather than the District’s three-year statute of limitation

governing personal injury claims. However, “a particular state's characterization of

a federal claim for purposes of determining which statute of limitations is

applicable is not binding on a federal court.” Featherstone v. District of Columbia,

908 F. Supp. 2d 153, 154 (D.D.C. 2012) {ciimg Banks v. Chesapeake and Potomac

Telephone Co., 802 F.2d 1416, 1420 (D.C. Cir. 1986)).

      Moreover, for “Rehabilitation Act claims in this jurisdiction, federal courts

have uniformly borrowed the District of Columbia's three-year statute of

limitations for personal injury claims.” Tyler v. Washington Metropolitan Area

Transit Authority, Civ. Act. No. l:14-cv-00601 (ESH), 2014 WL 2979031, *1

(D.D.C. July 3, 2014) {cWmg Adams v. District of Columbia, 740 F. Supp. 2d 173,

184 (D.D.C.2010); Gordon v. District of Columbia, 605 F. Supp. 2d 239, 244—45

(D.D.C. 2009); Stewart v. District of Columbia, No. 04-1444, 2006 WL 626921, at

*11 (D.D.C. Mar. 12, 2006)). Accordingly, this Court should apply a three-year



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statute of limitations, which Plaintiff has clearly satisfied with the timely filing of

the complaint herein.

      It is also respectfully submitted that there should be one uniform statute of

limitations that applies in a civil rights setting. For example, a district court erred

in granting summary judgment to the university because the proper limitations

period for Title VI of the Civil Rights Act of 1964 cases brought in the District of

Columbia Circuit was the three-year not the one-year period contained in the

District of Columbia Human Rights Act. Stafford v George Washington Univ., 56

F.4th 50 (DC Cir 2022). The D.C. Circuit has made clear that the District's three-

year residual statute of limitations applies to a § 1983 claim, as do its "tolling rules

so long as [they] are not inconsistent with the policies underlying § 1983."

Oluwashola Olaniyi Ajayi v District of Columbia, 2021 US Dist LEXIS 164611

[DDC Aug. 31, 2021, Civil Action No. 20-1019 (TJK)] See also, Proctor v District

of Columbia, 74 F Supp 3d 436 (DDC 2014).

      In this particular case, having the uniformity regarding the statute of

limitation is important and compelling interest. It should not depend on whether

the case is based on race under Title VI, or a claim brought under 1983 or on a

disability under the ADA. A uniform statute of limitation should apply to all of

these types of discrimination and civil rights claims; -                       -



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      C. The Federal Default Four Year Statute Under 28 U.S.C. § 1658 is

         Applicable.

      Neither the Rehabilitation Act nor the ADA contains an express statute of

limitations. See Ervine v. Desert View Reg'l Med. Ctr. Holdings, LLC, 753 F.3d

862, 869 (9th Cir. 2014); Before 1990, federal courts generally borrowed the

statute of limitations provided by the analogous state law. See Jones v. R.R.

Donnelley & Sons Co., 541 U.S. 369, 377-78, 124 S. Ct. 1836, 158 L. Ed. 2d 645

(2004). However, in 1990, Congress passed 28 U.S.C. § 1658, which provides a

catchall 4-year statute of limitations for actions arising under federal statutes

enacted after December 1, 1990. 28 U.S.C. § 1658. Although both the

Rehabilitation Act and the ADA were enacted before this date, the Supreme Court

has held that Section 1658's statute of limitations also applies to claims brought

under amendments to existing statutes if "the plaintiffs claim against the defendant

was made possible by a post-1990 enactment." Sharkey v. O'Neal, 778 F.3d 767,

770 (9th Cir. 2015) The ADA and the Rehabilitation Act were amended by the

ADA Amendments Act of 2008 ("ADAAA"), which became effective on January

1, 2009. Accordingly, to determine the appropriate statute of limitations period, the

Court must consider whether Plaintiffs claims were "made possible" by the

ADAAA.See Jones, 541 U.S. at 382. Toma v Univ. of Hawaii, 304 F Supp 3d 956,

960-961 [D Haw 2018]).

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      In order to establish a violation of Title II of the ADA, a plaintiff must show

that: "(1) he is an individual with a disability; (2) he is otherwise qualified to

participate in or receive the benefit of some public entity's services, programs, or

activities; (3) he was either excluded from participation in or denied the benefits of

the public entity's services, programs, or activities, or was otherwise discriminated

against by the public entity; and (4) such exclusion, denial of benefits, or

discrimination was by reason of his disability." O'Guinn v. Lovelock Corr. Ctr.,

502 F.3d 1056, 1060 (9th Cir. 2007) (quoting McGary v. City of Portland, 386

F.3d 1259, 1265 (9th Cir. 2004)). To establish a claim under Section 504 of the

Rehabilitation [**10] Act, a plaintiff must establish the same elements as above

and must also show that "the program receives federal financial assistance." Id.

(quoting Dwva// v. County ofKitsap, 260 F.3d 1124, 1135 (9th Cir. 2001)).

      The element at issue is whether Plaintiff qualifies as an individual with a

disability. Under the ADA, a disability was defined as "a physical or mental

impairment that substantially limits one or more of the major life activities of such

individual." ADA § 3(2)(A). The ADA did not define "physical or mental

impairment," "substantially limits," or "major life activities." In two key cases, the

Supreme Court provided guidance regarding how to interpret these terms. In Sutton

V. United Air       /«c., the Supreme Court held that "a person whose physical or

mental impairment is corrected by mitigating measures still has an impairment, but

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if the impairment is corrected it does not 'substantially limit' a major life activity."

527 U.S. 471, 483, 119 S. Ct. 2139, 144 L. Ed. 2d 450 (1999). In Toyota Motor

Manufacturing, Kentucky, Inc. v. Williams, die Supreme Court held that "an

individual must have an impairment that prevents or severely restricts the

individual from doing activities that are of central importance to most people's

daily lives. The impairment's impact must also be permanent or long term." [**11]

534 U.S. 184, 198, 122 S. Ct. 681, 151 L. Ed. 2d 615 (2002).

      Congress expressly rejected these two cases in passing the AD AAA and

revised the definition of "disability" for both the ADA and the Rehabilitation Act.

See 42 U.S.C. § 12101(a)(4)-(7); 42 U.S.C. § 12102(4). Specifically, the ADAAA

provides that "[a]n impairment that is episodic ... is a disability if it would

substantially limit a major life activity when active," and "[t]he determination of

whether an impairment substantially limits a major life activity shall be made

without regard to the ameliorative effects of mitigating measures." 42 U.S.C. §

12102(4)(D), (E)(i)(I).

      Here, accepting the allegations of the Amended Complaint as true. Plaintiffs

claims were only made possible by the ADAAA. Specifically, Plaintiff alleges that

a diagnosis of “Specific Phobia: Situational Type,” ranking his severe testing

anxiety to be in the 98th percentile. Thus, his anxiety was episodic in nature and,

he took a leave and then returned. Thus, it can be inferred that he responded to

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treatment. Based on these allegations, Plaintiffs claims were "made possible" by

the ADAAA because he would not have been able to allege that he qualified as an

individual with a disability under the pre-amendment ADA.

                                     POINT III

EVEN APPLYING THE LOCAL ONE-YEAR STATUTE OF LIMITATION
   IN THE DISTRICT OF COLUMBIA, THE CASE WAS TIMELY
BROUGHT DUE TO THE COVID PANDEMIC TOLLING THE STATUTE
                    OF LIMITATIONS.

      The Lower Court held that the one-year statute of limitations was applicable

and not the three-year personal injury statute of limitations. The Court below held

that since Mr. Abreu was dismissed by the College on August 27, 2019 but did not

file suit until more than a year later on February 12, 2021, the Court dismissed

Appellant’s ADA and Rehabilitation Act claims as time barred. Even assuming

arguendo that the Court was correct in applying the one-year statute of limitation,

the Lower Court erred in dismissing the matter as the statute of limitations was

tolled due to the Covid pandemic.

      On March 15, 2020, former Chief Judge Robert E. Morin issued an Order

indicating that DC Superior Court will suspend a number of its usual activities for

the next several weeks due to the ongoing health crisis. On March 19, 2020, former

Chief Judge Morin issued another Order indicating that unless otherwise ordered

by the court, all deadlines and time limits in statutes, court rules, and standing and

other orders issued by the court that would otherwise expire before May 15, 2020
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including statutes of limitations, are suspended, tolled, and extended during the

period of the current emergency. Such deadlines and time limits may be further

suspended, tolled, and extended as circumstances change. March 19, 2020, Order

at 2. Therefore, all deadlines falling between March 18, 2020 and May 15, 2020

were suspended, tolled, and extended. On May 14, 2020, former Chief Judge

Morin issued an Amended Order which lifted tolling deadlines for motions subject

to Super. Ct. Civ. R. 12-1 for parties represented by Counsel who had previously

registered for E-filing with the Court before March 18, 2020, but extending tolling

for unrepresented parties until the conclusion of the period of emergency, which

was originally set for June 19, 2020. On June 19, 2020, former Chief Judge Morin

issued an Amended Order, further extending the period of emergency until August

14, 2020.

      On August 13, 2020, former Chief Judge Morin issued another Amended

Order, further extending the period of emergency until November 9, 2020. Former

Chief Judge Morin's tolling of all deadlines remains in place "with the following

exceptions: (1) deadlines applicable to parties represented by counsel in pending

cases, except deadlines for service of process; (2) discovery-related deadlines

applicable to all parties, including parties not represented by counsel; and (3)

deadlines in scheduling orders issued after March 18, 2020." August 13, 2020,

Order at 3.

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        On November 5, 2020, Chief Judge Anita Josey-Herring issued another

Amended Order, further extending the period of emergency until January 15, 2021.

Former Chief Judge Morin's tolling of all deadline remains in place "with the

following exceptions: (1) deadlines applicable to parties represented by counsel in

pending cases, except deadlines for service of process; (2) discovery-related

deadlines applicable to all parties, including parties not represented by counsel; (3)

for motions filed on or after November 10, 2020, motions related deadlines

applicable to all parties, including parties not represented by counsel; and (4)

deadlines in scheduling orders issued after March 18, 2020." Nov. 5, 2020, Order

at 3.

        On January 13, 2021, Chief Judge Anita Josey-Herring issued an Amended

Order, further extending the period of emergency until March 31, 2021. Former

Chief Judge Morin's tolling of all deadline remains in place "with the following

exceptions: (1) deadlines applicable to parties represented by counsel in pending

cases; (2) discovery-related deadlines applicable to all parties, including parties not

represented by counsel; (3) effective January 29, 2021, deadlines for service of

process applicable to all parties, including parties not represented by counsel; (4)

deadlines for responsive pleadings applicable to all parties, including parties not

represented by counsel; (5) motions-related deadlines applicable to all parties,

including parties not represented by counsel; and (6) deadlines in orders issued

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after March 18, 2020." Jan. 15, 2021, Order at 3. See Deutsche BankNat'l Trust

Co. V. Kernacs, 2021 D.C. Super. LEXIS 117 (DC Superior Ct 2021).

      Mr. Abreu was dismissed by the College on August 27, 2019 but did not file

suit until more than a year later on February 12, 2021, the Court dismissed

Appellant’s ADA and Rehabilitation Act claims as time barred. However, the

statute of limitations was tolled between March 15, 2020 until February 12, 2021

due to the Covid pandemic.       Accordingly, assuming the one-year statute of

limitations is applicable then the limitation period did not expire on August 27,

2020, and did not expired on February 12, 2021, because the statute of limitations

was tolled until March 2021.

                                    POINT IV

    APPELLANT STATED A CLAIM FOR BREACH OF CONTRACT
      Courts in the District of Columbia 'recognize the general rule "that the

relationship between a university and its students is contractual in nature. Chenari

V. George Washington Univ., 172 F. Supp. 3d 38, 47 (D.D.C. 2016). The keystone

of an implied-in-fact contract is the parties' reasonable expectations at the time of

contracting.   District of Columbia law recognizes that all contracts contain an

implied duty of good faith and fair dealing. Chenari, 172 F. Supp. 3d at 47 To

show that a university breached the implied covenant of good faith and fair



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dealing, a plaintiff must allege 'either bad faith or conduct that is arbitrary and

capricious. Chenari at 745.

      Further D.C. Courts have recognized that valid, implied contract exist

between a university and its students due to the student conferring a benefit upon

the university by paying tuition to the university and the university providing

requisite educational material and services to the student. Montesano v. Catholic

Univ. ofAm., 20-CV-1496 (DLF), 2021 WL 2894720, at *3 (D.D.C. July 9, 2021).

D.C. Courts have also recognized that universities have an obligation of good faith

and fair dealing with regard to these implied contracts. Id.

      Appellant has adequately plead a contract relationship with Defendant and

Defendant is in breach of that contract. In order to prevail on a breach of contract

claim, 1) a valid contract between the parties; (2) an obligation or duty arising out

of the contract; (3) a breach of that duty; and (4) damages caused by breach.”

Tsintolas Realty Co. v. Mendez, 984 A.2d 181, 187 (D.D.C. 2009).

      On a motion to dismiss, the amended complaint is viewed in a light most

favorable to Appellant and he is granted the benefit of all inferences that can be

derived from the facts alleged. Kowal v. MCI Communications Corp., 16 F.3d

1271, 1276 (D.C. Cir. 1994). Appellant has adequately plead that there was a valid

contract between himself and the College. Here, a contract between Appellant and

the College was created through both the policy handbook which elaborates upon

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the rights Plaintiff has before Defendant can dismiss him from any university

program.

      Additionally, Appellee breached its covenant of good faith and fair dealing

by refusing to give reasonable accommodations to Plaintiff with regard to his

medical conditions. The contract between Plaintiff and Defendant was premised on

the implicit agreement that both Mr. Abreu and the College would act in good faith

to fulfill their obligations under the contract. The amended complaint stated

specifically that Defendant breached that duty of good faith and fair dealing by not

granting Plaintiff reasonable accommodations for his medical issues, despite the

recommendations from Plaintiffs highly qualified doctors.

      For these reasons. Plaintiff fulfills his burden to plead a facially plausible

complaint against Appellee. Specifically, these issues deal with Defendant’s

accommodations of Plaintiff s medical condition and the handling of their policies

regarding UMSLE. These genuine issues are as follows:

             • The University violated its own policies in dismissing

            Abreu in August of 2019 for not timely passing the

            USMLE Step 1 exam, as the University’s manual stated

            that the second Wednesday in July of the year the student

             completed their second year was the cutoff to pass the

            UMSLE Step 1. (See ECF No. 5-2 at 9 (wherein the

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         manual states: “Students will be considered as not

         making satisfactory academic progress (SAP) if the

         student is required to attend the Summer Directed Study

         Program (SDSP) or if a passing score for USMLE Step 1

         is not received on or before the second Wednesday in

         July -even if the student is in the SDSP.”)).

         • The University was notified of Plaintiffs medical

         condition   on    June    11,        2018   Plaintiffs   clinical

         psychologist’s   letter to      the University explaining

         Plaintiffs diagnosis)) but failed to provide Abreu

         reasonable accommodation by rejecting his request for

         the university to waive the policy that a student who fails

         the USMLE three times must be dismissed.

         • The University’s granting of a medical leave of absence

         and allowing Plaintiff to focus exclusively on passage of

         the USMLE        was     insufficient accommodation for

         Plaintiffs medical condition by forcing him to return

         prematurely.




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      As one might expect, most (if not all) reputable Universities, have ADA

policies that are clearly delineated in the handbook at Howard University. Howard

University states:

             STUDENTS   WITH           DISABILITIES        HOWARD
             UNIVERSITY

             A. Who is Eligible for Services? All students attending
             the Howard University with a documented disabilities are
             eligible and encouraged to register for services.

             Responsibilities of the Office of the Dean for Special
             Student Services 1. Determine eligibility 2. Identify
             appropriate accommodations (academic, auxiliary aids,
             etc.) 3. Develop accommodations plan and complete
             faculty notification forms with student 4. Work with
             faculty to ensure delivery of accommodations (arranging
             testing, use of auxiliary aids in classrooms, classroom
             modification, etc.) 5. Maintain detailed confidential
             records that document the plan for the provision of
             selected accommodations 6. Assist in course registration
             each semester 7. Assist students in development of self-
             advocacy

             In compliance with the law (Section 504, Rehabilitation
             Act and the American with Disabilities Act, "ADA"),
             Howard University is committed to providing its disabled
             students with reasonable accommodations. There are
             specific guidelines for the acquisition of accommodations
             and services under ADA. (From the First Year Handbook
             Pages 20-21 of the 2015-2016 Student Handbook-Policy
             and Procedure Handbook that was in effect when he
             enrolled in the Medical School.)




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      The ADA policies of Howard University continued throughout the duration

of Appellant’s enrollment at Howard University. The 2019-2020 handbook clearly

delineated the students’ ADA rights.

            A. Eligibility for Services
            All students attending Howard University with a
            documented disability are eligible and encouraged to
            register for service

            C. Determining Accommodations
            Accommodations are determined as a result of a
            comprehensive individualized assessment, including a
            review of medical reports, psychological reports,
            academic background and an interview with the
            student.

            D. Reasonable Accommodations or Lack Thereof
            OSS strives to provide reasonable accommodations and
            works to facilitate an agreeable working relationship
            between you and the University. If you feel that you are
            not being treated fairly because of your disability, you
            are encouraged to contact our office and make an
            appointment to discuss the issue(From the First Year
            Handbook Pages 17-18 of the 2019-2020 Student
            Handbook-Policy and Procedure Handbook that was in
            effect when he enrolled in the Medical School.)


      Although the amended complaint does not set forth the specific language in

the handbook, it can be reasonably inferred from the Amended Complaint that

Appellant was alleging a violation of the aforementioned specific handbook

provisions when it alleged the following in his amended complaint: -



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             27. At a very minimum the school should have provided
             reasonable accommodations to Mr. Abreu in order for
             him to adequately prepare for his examination.

             28. Instead, the school did not provide any reasonable
             accommodation, despite being put on notice of his
             condition and a need to have accommodations with
             regard to the exam schedule and/or number of times to
             complete the exam.

             29. These actions by the University were not done in
             good faith and were done in breach of the implied
             contract with Mr. Abreu to act in good faith when
             determining whether reasonable accommodations were
             appropriate.

            30. In essence, the behavior of the University suggests
            that their implied contract with Mr. Abreu was not going
            to be followed and that the University would essentially
            take the money that Mr. Abreu paid it by dismissing him,
            without allowing him to achieve a degree, if Mr. Abreu
            attempted to invoke some of his contractual rights, i.e.,
            the right to receive accommodations pursuant to state and
            federal law.

             31. This constitutes bad faith on the part of the University
             and is in breach of the implied contract between the
             University and Mr. Abreu


      Appellant has alleged a facially plausible claim given the factual context that

allows the court to draw the reasonable inference that the Appellee is liable for the

misconduct alleged because it alleged that it breaches the implied contract between

the parties due to failing to reasonably accommodate Mr. Abreu. Ashcroft v. Iqbal,

129 S. Ct. 1937, 1949 (2009). Thus, it can be reasonably inferred from the

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Amended Complaint that Appellant was alleging a violation of the aforementioned

specifie   handbook     provisions    concerning    reasonable    accommodations.

Accordingly, Appellant has alleged a plausible claim for breach of contract,

                                CONCLUSION

      For all of the above-mentioned reasons, Appellant respectfully requests the

order granting Appellees’ motion to dismiss be reversed and the matter should be

remanded back to the District Court for further consideration.

Dated: April 14, 2022
                                             Respectfully submitted




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                     CERTIFICATION PURSUANT TO
             Fed. R. App. P. 32(a)(7)(B) and (c) and Rule 32 (g) (1)

      The undersigned hereby certifies that the foregoing brief complies with the

type-volume of Fed. R. App. P. 32(a)(7)(B) and Rule 32 (g) (1) because the brief

contains 7,322 words of text.

      The brief complies with the typeface requirements of Fed. R. App. P.

32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because this

brief was prepared in a proportionally spaced typeface using Microsoft Word in

Times New Roman 14pt.




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